	NO. 07-10-0334-CR
	
	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL B

	SEPTEMBER 9, 2010
	______________________________

	MELODY ANN FEIL,

Appellant

	v.

	THE STATE OF TEXAS,

Appellee
	_________________________________

	FROM THE 223rd DISTRICT COURT OF GRAY COUNTY;

	NO. 6407; HON. LEE WATERS, PRESIDING
	_______________________________

	ORDER OF DISMISSAL
	_______________________________

Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
Appellant, Melody Ann Feil appeals her conviction for forgery by making.  The certification of right to appeal executed by the trial court states that this is a plea bargain case and the defendant has NO right of appeal."  This circumstance was brought to the attention of appellant and opportunity was granted her to obtain an amended certification entitling her to appeal.  No such certification was received within the time we allotted.  Having received no amended certification, we dismiss the appeal per Texas Rule of Appellate Procedure 25.2(d).

Per Curiam

Do not publish.

















